Case 1:05-cv-01086-.]DT-STA Document 3 Filed 04/22/05 Page 1 of 2 /Y§e|D 1

did §/'

IN THE UNITED STATES DISTRICT COURT

 

 

19
FoR THE wESTERN DISTRICT OF TENNESSEE /, 'C
EASTERN.D_IVISIoN; f ’5' 3_. 5
t ppg £'1;! /}P 0
' ~> OZ/~
KiMBERLY POLLOCK, ) §j?/fp{;\
ing ’/
) /|/
Plaintiff, )
)
v. ) No. 1-05-1086-T/AN
)
THE GOODYEAR TIRE & RUBBER CO., )
)
Defendant. )--

 

ORDER GRANTING EXTENSION OF TIME TO ANSWER
OR O'I`HERWISE RESPOND

 

For the reasons set forth in Defendant’s Motion for Extension of Tirne to Answer or
Otherwise Respond, and for good cause shown, the time for Defendant to answer or otherwise

respond to the Cornplaint is hereby extended to and including May IS, 2005.

T§.///);M: h wer
H. ls ;. . l l
Date: W ,QQ’_ ¢QOOJ/

heat in compliance

This document entered on the dockets
with Ru\e 58 and.'or_?§ (a) FRCP on

@

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 3 in
case 1:05-CV-01086 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

ESSEE

 

Justin Gilbert

THE GILBERT LAW FIRM
2021 Greystone Park
Jackson7 TN 38308

Herbert E. Gerson

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
Memphis7 TN 38120

David P. KnoX

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
Memphis7 TN 38120

Honorable J ames Todd
US DISTRICT COURT

